          Case 1:19-cv-00361-LO-TCB Document 27 Filed 04/12/19 Page 1 of 1 PageID# 1875


                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                                                                                                         AND LOCAL
       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83,1(D)
                                              CRIMINAL RULE 57.4
               In Case Number  1:19-cv- 00361    ,Case Name Futrend Technology, Inc. v. MicroHealth
                                                                gy,Inc.
               Party Represented by Applicant: ~utrend Technolo

To: The Honozable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

FULL NAME(no initials, please) Barry James Miller
Bar Identification Number 661596              State Massachusetts
Firm Name   Seyfarth Shaw LLP
Firm Phone # 617-946-4800                  Direct Dial # 617-946-4806                                FAX # 617-790-6753
E-Mail Address bmiller~sevfar~h.~4m
Office Mailing Address Seaport East,Two Seaport Lane, Suite 300, Boston, MA 02210
                                                                         of MA, CT, WDNY,EDFL
Names)of federal courts) in which I have been admitted U5 district Court
                                                                                            extend a similar pro hac vice admission
I certify that the rules of the federal court in the district in which X maintain my office
privilege to members of the bar of the Eastern District of Virginia.
                                                                                             pertaining to my conduct or fitness as a
I have not been reprimanded in any court nor has there been any action in any court
member of the bar,
                                                                             application, I have read the Local Rules of this Court
I hereby certify that, within ninety {90) days be~are the submission of this
                                                                                     of Criminal Procedure, and the Federal Rules of
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules
Evidence is current,
                                                                                      _~.e~ a               ~xenx Lion from the admission fee.
I am        am not X a full-time employee of the United States of America, and if sc~F
                                                                                          (App}I~canti's ~g~7ature)

                                                                                 related to t re applicant; that I know the applicant
7, the undersigned, do certify that I am a member of the bar of this Court, not
                                                                                 for admission to the bar of this Court; that I have
personally, that the said applicant possesses all of the qualifications required
                                                                                    professional character and standing are good, and
examined the applicant's personal statement. T affirm that his/her personal and
petition the court to admit the applicant pro hac vice.                  .~                                                              jp
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                                                               x 'e)   ~-                                             (Date)
                                                   ~.,,w~Stgn
                                                              fl a~ a~>
                                                                (Typed or Printed Name)                               (VA Bar Number)._. __
 Court Use Only:

 Clerk's Fee Paid             or Exemption Granted

 The motion for admission is GRANTED                   or DENIED




                          {Judge's Signature)                                                       (Date
